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                               UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      EL PASO DIVISION


 UNITED STATES OF AMERICA,


                         Plaintiff,

         v.                                             Case No. 3:21-cv-173

 THE STATE OF TEXAS and GREG
 ABBOTT, in his official capacity as Governor
 of the State of Texas,


                         Defendants.


                                              COMPLAINT


        The United States of America, by and through its undersigned counsel, brings this civil

action for declaratory and injunctive relief, and alleges as follows:

                                      PRELIMINARY STATEMENT


        1.          No State may obstruct the Federal Government in the discharge of its constitutiona l

responsibilities.     But on July 28, 2021, the Governor of the State of Texas issued an executive

order purporting—“effective immediately”—to restrict who may lawfully provide ground

transportation in Texas to certain groups of migrants who have been detained by the Federal

Government pursuant to U.S. immigration authorities or are otherwise subject to certain Federal

authorities.

        2.          The United States brings this suit to challenge the executive order, attached hereto

as Exhibit A, which is described as “executive order No. GA-37 relating to the transportation of

migrants during the COVID-19 disaster” (executive order).

        3.          The executive order violates the Supremacy Clause and causes injury to the United

States and to individuals whom the United States is charged to protect, jeopardizing the health and
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safety of noncitizens in federal custody, risking the safety of federal law enforcement personnel

and their families, and exacerbating the spread of COVID-19 in our communities. The executive

order obstructs the Federal Government’s arrangements with nongovernmental partners and

directly interferes with the administration of federal immigration law.

       4.       This Court should declare the executive order to be invalid and enjoin its

enforcement.

                                   JURISDICTION & VENUE

       5.       The Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and 1345, and

the United States seeks remedies under 28 U.S.C. §§ 1651, 2201, and 2202.

       6.       Venue is proper in this judicial district under 28 U.S.C. § 1391(b) because

Defendants reside within this judicial district and because a substantial part of the acts or omissions

giving rise to this action arose from events occurring within this judicial district.

                                              PARTIES

       7.       Plaintiff, the United States, is responsible for regulating matters relating to

immigration under its constitutional and statutory authorities.

       8.       Defendant, the State of Texas, is a state of the United States.

       9.       Defendant, Greg Abbott, is the Governor of Texas, and is being sued in his official

capacity.
                                  RELEVANT FEDERAL LAW

       10.      The Supremacy Clause of the U.S. Constitution mandates that “[t]his Constitution ,

and the Laws of the United States which shall be made in Pursuance thereof . . . shall be the

supreme Law of the Land . . . any Thing in the Constitution or Laws of any State to the Contrary

notwithstanding.” U.S. Const., art. VI, cl. 2. Thus, a state enactment is invalid if it “stands as an

obstacle to the accomplishment and execution of the full purposes and objectives of Congress,”

Hines v. Davidowitz, 312 U.S. 52, 67 (1941), or if it regulates “the activities of the Federal

Government,” Mayo v. United States, 319 U.S. 441, 445 (1943).




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       11.      The Constitution affords Congress the power to “establish an uniform Rule of

Naturalization.” U.S. Const., art. I § 8, cl. 4. It also affords the President of the United States the

authority to “take Care that the Laws be faithfully executed.” U.S. Const., art. II § 3. Congress

has exercised its authority over immigration to make laws governing the entry, admission,

presence, status, and removal of noncitizens within the United States by enacting the Immigration

and Nationality Act (INA), 8 U.S.C. §§ 1101 et seq., and other laws regulating immigration. These

laws codify the Executive Branch’s authority to inspect, investigate, arrest, detain, and remove

noncitizens who are suspected of being, or found to be, unlawfully in the United States. See 8

U.S.C. §§ 1182, 1225, 1226, 1227, 1228, 1231, 1357. Federal law also creates criminal sanctions

for those who facilitate the unlawful entry, residence, or transportation of noncitizens within the

United States. See 8 U.S.C. §§ 1323, 1324, 1327, 1328. The States and their political subdivisions

cannot obstruct or discriminate against the execution of federal immigration laws. See Arizona v.

United States, 567 U.S. 387, 394-95 (2012).

       12.      Federal law also explicitly recognizes the authority of the United States to “arrange

for appropriate places of detention for aliens detained pending removal or a decision on

removal[.]” 8 U.S.C. § 1231(g)(1); accord 8 U.S.C. § 1103(a)(11). The INA further vests the

United States with broad discretion to release noncitizens seeking admission to the United States

from custody through various mechanisms including, inter alia, parole under 8 U.S.C.

§ 1182(d)(5) and conditional release from custody under 8 U.S.C. § 1226(a)(2)(B). See also 8

U.S.C. § 1229c (authorizing the federal government to release removable noncitizens for as long

as 120 days, in exchange for the non-citizen’s commitment to depart voluntarily). Noncitizens

subject to removal proceedings are provided a written Notice to Appear.                     8 U.S.C.

§ 1229(a)(1)(G)(i). That Notice to Appear must be filed with the Executive Office for Immigration

Review and provide “[t]he time and place at which the proceedings will be held.” 8 U.S.C.

§ 1229(a)(1)(G)(i). Noncitizens may also be subject to a process known as expedited removal. 8

U.S.C. § 1225(b)(1).




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        13.      Congress has provided for the care and well-being of unaccompanied non-citizen

children during the pendency of their immigration proceedings. See 6 U.S.C. § 279(a). To combat

child trafficking, Congress enacted the William Wilberforce Trafficking Victims Protection

Reauthorization Act of 2008 (TVPRA), (codified in relevant part at 8 U.S.C. § 1232), to ensure

that unaccompanied non-citizen children are safely repatriated to their country of nationality or of

last habitual residence.     Under the TVPRA, unaccompanied children from noncontiguous

countries, as well as those children who are trafficking victims or cannot make an independent

decision to voluntarily depart the United States, must be transferred to the custody of the Office of

Refugee Resettlement (ORR) of the U.S. Department of Health and Human Services (HHS) within

72 hours of being identified as an unaccompanied child, absent exceptional circumstances. 8

U.S.C. § 1232(a)(4), (b)(3). Once transferred, the child must be promptly placed in the “least

restrictive setting that is in the best interest of the child,” subject to considerations of whether the

child is a danger to self or others. Id. § 1232(c)(2)(A). ORR assesses whether there is a suitable

sponsor for the child so that he or she may be released from ORR custody as quickly as is safe and

appropriate. A vast majority of unaccompanied children in ORR’s custody are ultimately released

to a sponsor during the pendency of their immigration proceedings. The TVPRA authorizes ORR

to “award grants to, and enter into contracts with, voluntary agencies to carry out” its

responsibilities for unaccompanied children. Id. § 1232(i).

        14.      Section 265 of Title 42 of the United States Code authorizes the Centers for Disease

Control and Prevention (CDC) to suspend the introduction into the United States of persons

determined by the CDC to increase the danger of the spread of a communicable disease. In light

of the COVID-19 pandemic, CDC exercised its Title 42 authority to issue an order in March 2020

temporarily suspending the introduction into the country of certain noncitizens traveling from

Canada and Mexico. See 85 Fed. Reg. 17,060 (Mar. 26, 2020). The March 2020 order authorized

the expulsion of certain noncitizens to the country from which they entered the United States, their

country of origin, or another location as quickly as practicable. Id. at 17,067. In October 2020,

CDC issued a new Title 42 order to replace the March 2020 order (as amended and extended). See


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85 Fed. Reg. 65,806 (Oct. 16, 2020). Section 268 of Title 42 provides that customs officers within

the Department of Homeland Security (DHS) aid in the enforcement of Title 42 orders. On July

16, 2021, CDC issued an order excepting unaccompanied non-citizen children from the October

Order. See 86 Fed Reg. 38,717 (July 22, 2021).

      THE UNITED STATES’ TRANSPORTATION OF NONCITIZENS DURING
                     IMMIGRATION ENFORCEMENT

       15.      As part of the execution of U.S. immigration laws, there are a variety of

circumstances in which noncitizens must be transported between locations.            For example,

unaccompanied children need to be transferred from DHS facilities to facilities operated by ORR,

between ORR facilities, or to their sponsors, who are typically family members. At all times

during this process, unaccompanied children are in the legal custody of the Federal Government.

Noncitizens in the custody of DHS need to be transferred between different facilities of the same

agency, between different agencies, or to nongovernmental organizations with whom the Federal

Government has partnered. And noncitizens released by U.S. Customs and Border Protection

(CBP) need transportation, frequently through privately arranged travel by bus or rail, to

destinations within Texas and elsewhere throughout the United States. Such onward travel is

necessary for noncitizens to reach their final destination within the United States and, if released

from custody, to appear before immigration courts for removal proceedings, as they are required
to do by federal law, or to report to U.S. Immigration and Customs Enforcement (ICE) offices

around the country for additional processing.

       16.      The United States uses a variety of means to transport noncitizens in Texas, making

use of federal personnel, contractors, and grantees.

       17.      Some of the federal personnel who participate in the transport of noncitizens on

behalf of the United States in Texas are not “law-enforcement official[s]” in the ordinary sense of

the phrase (i.e., officials tasked with enforcing criminal law)—a distinction of potential

significance under the new Texas executive order.




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       18.      There are numerous circumstances in which federal agencies rely upon contractors

to provide transportation of noncitizens necessary for the administration of federal immigration

law.

       19.      In the Rio Grande Valley Sector alone, CBP has used contactors to transport

approximately 120,000 noncitizens in this fiscal year to date. Because CBP stations are only

designed for short-term holding, it is essential that CBP be able to transfer noncitizens out of CBP

custody in a timely manner, and CBP relies on contractors for these transfers. Noncitizens are

transferred to ICE or, in the case of unaccompanied children, to HHS. CBP also relies on

contractors to transfer noncitizens between different CBP facilities and to transport noncitizens

released from jail or prison to CBP facilities often for removal from the United States. Noncitizens

who are in CBP custody may also require transportation by ambulance to local healthcare services

for treatment of various physical injuries and medical conditions. Finally, in light of the pandemic,

CBP closely coordinates        with, and releases noncitizens        to, various    nongovernmental

organizations, which perform the critical role of promptly conducting COVID-19 testing and

providing safe placement for isolation and quarantine consistent with public health mitigation

measures. The nongovernmental organizations also transport noncitizens released by CBP, often

to bus stations where the noncitizens board commercial buses to travel to their destinations in the

United States where they will continue to participate in immigration proceedings.

       20.      ICE, through its Enforcement and Removal Operations directorate (ERO), is

responsible for managing all aspects of the immigration enforcement process, including

identification and arrest, domestic transportation, detention, bond management, and supervised

release, including alternatives to detention.    In addition, ERO removes noncitizens with final

orders of removal from the United States to more than 170 countries around the world.

       21.      ICE routinely uses contractors to transport noncitizens from CBP custody to ICE

processing and detention facilities, between ICE facilities, and from ICE facilities for removal

from the United States. ICE has traditionally relied on private contractors for its transportation

needs in particular, including ground transportation of its detained population to detention facilities


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nationwide. In addition, almost all ICE contracted detention facilities have some transportation

services for local transportation provided on an as-needed basis. ICE also relies on contractors to

transfer unaccompanied children from either ICE or CBP to ORR facilities. ICE spends over $200

million annually on contracts with private providers and county governments in Texas for

transportation services, covering over 8,000 miles per day.

       22.      ORR operations depend on contractors to transport unaccompanied children. First,

ORR receives unaccompanied children in its custody from either CBP or ICE, both of whom rely

on contractors to transport unaccompanied children encountered in Texas to ORR’s grantee care

providers.    Second, ORR uses grantees and contractors to transport unaccompanied children

between facilities within the ORR network. For example, a child may require an immediate

transfer from one of ORR’s emergency facilities to a grantee care provider within ORR’s network

due to pregnancy or other medical issues, a vulnerability such as trafficking concerns, or safety

concerns for self and others. ORR may also choose to move certain unaccompanied children with

long anticipated stays from temporary emergency facilities to grantee facilities. Third, ORR uses

grantees and contractors to transport unaccompanied children from shelter facilities to sponsors

who will provide care for the children.

                                   THE EXECUTIVE ORDER

       23.      Governor Abbott issued the executive order on July 28, 2021. 1 The executive order

states that Governor Abbott had issued a disaster proclamation on May 31, 2021, because “the

surge of individuals unlawfully crossing the Texas-Mexico border poses an ongoing and imminent

threat of disaster for certain counties and agencies in the State of Texas, including the potential for

the spread of COVID-19[.]” It further states that President Biden has “fail[ed] to enforce the Title

42 order” and that this failure, “combined with his refusal to enforce the immigration laws enacted

by Congress, is having a predictable and potentially catastrophic effect on public health in Texas.”

Id.

1https://perma.cc/T3NL-E58J, permanent record of: https://gov.texas.gov/uploads/files/press/EO-
GA-37_transportation_of_migrants_during_COVID_IMAGE_07-28-2021.pdf.


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       24.      Ostensibly to address these circumstances, the executive order provides the

following “on a statewide basis effective immediately:”

       No person, other than a federal, state, or local law-enforcement official, shall
       provide ground transportation to a group of migrants who have been detained by
       CBP for crossing the border illegally or who would have been subject to expulsion
       under the Title 42 order.

       The Texas Department of Public Safety (DPS) is directed to stop any vehicle upon
       reasonable suspicion of a violation of paragraph 1, and to reroute such a vehicle
       back to its point of origin or a port of entry if a violation is confirmed.

       DPS is authorized to impound a vehicle that is being used to transport migrants in
       violation of paragraph 1, or that refuses to be rerouted in violation of paragraph 2.

       Id.

       25.      On July 29, 2021, the Attorney General of the United States wrote to Governor

Abbott, urging him to “immediately rescind” the executive order and explaining several ways in

which it violates federal law.

       26.      To date, Governor Abbott has not rescinded the executive order.

          THE EXECUTIVE ORDER’S EFFECT ON FEDERAL OPERATIONS


       27.      The executive order will severely disrupt the Federal Government’s efforts to carry

out its responsibilities under the federal immigration laws.
       28.      For example, as discussed above, ORR relies heavily on contractors and grantees

to transport unaccompanied children to ORR custody, between facilities within ORR’s network,

and from such facilities to sponsors. Unless enjoined, the executive order will directly impede

CBP and ICE’s ability to transfer unaccompanied children to ORR in a timely fashion, as required

by the TVPRA, and will prevent necessary transfers of unaccompanied children between facilities

and from facilities to sponsors, also as required by federal law.         The inability to release

unaccompanied children to sponsors not only denies such children the care and companionship of

their sponsors, who are typically family members, but it keeps unaccompanied children in ORR

custody longer, which decreases the available bed-space in ORR’s facilities and prevents ORR



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from accepting new referrals from CBP. ORR’s inability to accept new referrals from CBP will

result in the prolonged detention of unaccompanied children in increasingly overcrowded CBP

facilities. Accordingly, the executive order’s restriction on transportation will result in immediate

backups of unaccompanied children at both CBP and ORR facilities. Increased density in these

facilities will endanger unaccompanied children and facility personnel by increasing the risk of

COVID-19 transmission, preventing unaccompanied children from being placed in the most

appropriate facility, and delaying unaccompanied children’s release to their sponsors.

       29.      ICE also relies on contractors to transport noncitizens in order to conduct its federal

operations, as discussed above. Unless enjoined, the executive order will impede ICE’s operations

in Texas, resulting in excessive numbers of noncitizens at CBP facilities, which could lead to a

health endemic at those facilities. ICE also would be unable to repatriate noncitizens who have

been ordered removed or excluded from the United States. Furthermore, without the ability to

utilize its contract support to transport of noncitizens to hospitals, emergency medical needs would

not be met, thereby risking the health and lives of individuals.

       30.      The executive order would also significantly impact CBP operations and would

impede CBP’s ability to coordinate transportation with partners. If CBP is unable to transfer

noncitizens out of CBP facilities, CBP detention numbers and the average time individuals are in

its custody will rise, conditions will deteriorate, and there will be a greater risk of COVID-19

transmission to noncitizens and staff. The inability to transport unaccompanied children and

family units will also hinder CBP’s compliance with the TVPRA and the Federal Government’s

legal obligations under a 1997 settlement agreement. See Flores v. Meese, No. 85-cv-4544 (C.D.

Cal.), ECF No. 101, Ex. 1 ¶ 40.

       31.      Federal immigration enforcement also depends on noncitizens having appropriate

to transportation so that they can appear before immigration courts for removal proceedings or

report to ICE offices around the country for additional processing. By restricting transportation




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available to noncitizens, the executive order, unless enjoined, will interfere with these aspects of

immigration enforcement.

                                    CLAIMS FOR RELIEF

                                    Count One: Preemption


       32.     Plaintiff hereby incorporates paragraphs 1 through 31 as if fully set forth herein.

       33.     The executive order is preempted by federal law. State laws and other regulations

are preempted under the Supremacy Clause if they conflict with federal law. Thus, a state law or

regulation is invalid if it “stands as an obstacle to the accomplishment and execution of the full

purposes and objectives of Congress.” Hines, 312 U.S. at 67.

       34.     States have no authority to interfere with the United States’ “broad, undoubted

power over the subject of immigration” by impairing the United States’ release of individuals and

the ability of those individuals to comply with federal immigration law. See Arizona, 567 U.S. at

395-416.

       35.     The executive order purports to authorize state agents to act as immigration officers

and interferes with the Federal Government’s ability to lawfully release and transport noncitizens,

and to conduct federal immigration hearings, to which noncitizens must travel in order to appear.

       36.     The executive order also purports to authorize the Texas Department of Public

Safety to determine whether individuals are “subject to expulsion under the Title 42 order” and to

take action against those transporting such individuals based on that determination. However, the

power to determine whether an individual is “subject to expulsion under the Title 42 order” is

reserved exclusively to the Federal Government.

       37.     The executive order therefore violates the Supremacy Clause and is invalid.

                    Count Two: Violation of Intergovernmental Immunity

       38.     Plaintiff hereby incorporates paragraphs 1 through 37 as if fully set forth herein.




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       39.     The doctrine of intergovernmental immunity arises from the Supremacy Clause of

the U.S. Constitution and reflects the principle that “states have no power . . . to retard, impede,

burden, or in any manner control the operations of the constitutional laws enacted by [C]ongress

to carry into effect the powers vested in the national government.” M’Culloch v. Maryland, 17

U.S. 316, 317 (1819); see also Mayo, 319 U.S. at 445 (“[T]he activities of the Federal Government

are free from regulation by any state.”); Johnson v. Maryland, 254 U.S. 51, 56–57 (1920) (holding

that state laws cannot “control the conduct of” individuals “acting under and in pursuance of the

laws of the United States”); United States v. City of Arcata, 629 F.3d 986, 991 (9th Cir. 2010)

(recognizing that a regulation violates the doctrine of intergovernmental immunity if it “seek[s] to

directly regulate the conduct of agents of the federal government”).

       40.     States also may not regulate the Federal Government through its contractors. See

Goodyear Atomic Corp. v. Miller, 486 U.S. 174, 181 (1988) (“[A] federally owned facility

performing a federal function is shielded from direct state regulation, even though the federal

function is carried out by a private contractor, unless Congress clearly authorizes such

regulation.”); United States v. California, 921 F.3d 865, 882 n.7 (9th Cir. 2019) (“For purposes of

intergovernmental immunity, federal contractors are treated the same as the federal government

itself.”), cert. denied, 141 S. Ct. 124 (2020); Boeing Co. v. Movassaghi, 768 F.3d 832, 840 (9th

Cir. 2014) (holding unconstitutional a state law that “directly interfere[d] with the functions of the

federal government” by “mandat[ing] the ways in which [a contractor] renders services that the

federal government hired [it] to perform”).

       41.     The executive order directly regulates the activities of the Federal Government and

its contractors, grantees, and nongovernmental partners. The executive order expressly prohibits

any “person, other than a federal, state, or local law-enforcement official” from providing “ground

transportation to a group of migrants who have been detained by CBP for crossing the border

illegally or who would have been subject to expulsion under the Title 42 Order.” The executive

order also directs State authorities to stop and reroute vehicles suspected of a violation of this




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prohibition and impound vehicles.       The executive order contains no exception for non-law

enforcement federal personnel or for federal contractors or grantees.

       42.      The executive order therefore violates intergovernmental immunity and is invalid.

                                     PRAYER FOR RELIEF

       WHEREFORE, the United States respectfully requests the following relief:

       1.       A declaratory judgment stating that the executive order violates the Supremacy

Clause and the doctrine of intergovernmental immunity, and therefore is invalid, null, and void;

       2.       Preliminary and permanent injunctions against the State of Texas, and its officers,

agents and employees, from enforcing the executive order;

       3.       The United States’ costs in this action; and

       4.       Any other relief the Court deems just and proper.


Dated July 30, 2021                           Respectfully submitted

                                              BRIAN M. BOYNTON
                                              Acting Assistant Attorney General

                                              BRIAN D. NETTER
                                              Deputy Assistant Attorney General

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                                              Director, Federal Programs Branch

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                           Attorneys for Plaintiff




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         EXHIBIT A
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                                   GOVERNOR              GREG       ABBOTT




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                                                                      SECRETARY OF STATE
                                                                                       ‘CLOCK

                                                                                      2021
Mr. Joe A. Esparza
Deputy Secretary of State
State Capitol Room 1E.8
Austin, Texas 78701

Dear Deputy Secretary Esparza:

Pursuant to his powers as Governor of the State of Texas. Greg Abbott has issued the following:

        Executive Order No. GA-37 relating to the transportation of migrants during the
        COVID-19 disaster

The original executive order is attached to this letter of transmittal.

Respectfully submitted.




                    to the Governor



Attachment




             POST OFFICE Box 12428 AUSTIN, TEXAS 78711 512-463-2000 (VoicE) DIAL 7-1-1 FOR RELAY SEgVICES
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                  !xrtuthtr ®rbn
                                BY THE
                     GOVERNOR OF THE STATE OF TEXAS

                                Executive Department
                                    Austin, Texas
                                    July 28, 2021


                                EXECUTIVE ORDER
                                     GA37

       Relating to the transportation of migrants during the COVID-19 disaster.




WHEREAS. I, Greg Abbott. Governor of Texas, issued a disaster proclamation on March
 13. 2020. certifying under Section 4 18.014 of the Texas Government Code that the novel
coronavirus (COVID-19) poses an imminent threat of disaster for all counties in the
State of Texas: and

WHEREAS, in each subsequent month effective through today. 1 have renewed the
COVID-19 disaster declaration for all Texas counties; and

WHEREAS, I issued a disaster proclamation on May 31, 2021, certifying under Section
418.014 that the surge of individuals unlawfully crossing the Texas-Mexico border poses
an ongoing and imminent threat of disaster for certain counties and agencies in the State
of Texas, including the potential for the spread of COVID-l9; and

WHEREAS, in each subsequent month effective through today, I have amended and
renewed the border disaster declaration; and

WHEREAS, in a so-called “Title 42 order.” President Trump took action to protect
Americans from COVID-l9 by rapidly expelling migrants who could carry the disease
across the border: and

WHEREAS, the Biden Administration has kept in place the Title 42 order, and for good
reason: and

WHEREAS, despite the emergence of the highLy contagious delta variant of COVID- 19.
and the fact that vaccination rates are lower in the countries that newly admitted
migrants come from and pass through, President Biden has thwarted the Title 42 order’s
effect by admitting into the United States and the State of Texas, migrants who are
testing positive for COVID-19; and

WHEREAS, President Biden’s failure to enforce the Title 42 order, combined with his
refusal to enforce the immigration laws enacted by Congress, is having a predictable and
potentially catastrophic effect on public health in Texas; and

WHEREAS, to take just one data point, reports show that U.S. Customs and Border
Protection (CBP) has recently seen a 900 percent increase in the number of migrant
detainees who tested positive for COVID-19 in the Rio Grande Valley: and

WHEREAS. busloads of migrants. an unknown number of whom are infected with
COVID-l9, are being transported to communities across the State of Texas. exposing
                                                                    FILED IN THE OFFICE OF THE
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Governor Greg Abbott                                                           Executive Order GA-37
July 28. 2021                                                                                  Page 2




    Texans to the spread of COVID- 19, as has already been reported in cities like La Joya,
    among others; and

   WHEREAS, President Biden’s refusal to enforce laws passed by the United States
   Congress cannot be allowed to compromise the health and safety of Texans by
   knowingly exposing them to COVID- 19; and

   WHEREAS, in the Texas Disaster Act of 1975, the legislature charged the governor with
   the responsibility “for meeting    the dangers to the state and people presented by
                                     ...




   disasters” under Section 418.011 of the Texas Government Code, and expressly granted
   the governor broad authority to fulfill that rcsponsibility; and

   WHEREAS, under Section 4 18.012, the “governor may issue executive orders
   hav[ing] the force and effect of law:” and

   WHEREAS. under Section 418.018(c). the “governor may control ingrcss and egress to
   and from a disaster area and the movement of persons and the occupancy of premises in
   the area:” and

   WHEREAS, the admittance and movement of migrants under the Biden Administration
   is exposing Texans to COVID-19 and creating a public health disastcr in Texas;

   SOW. THEREFORE. I. Greg Abbott, Governor of Texas, by virtue of the power and
   authority vested in me by the Constitution and laws of the State of Texas, do hereby order
   the following on a statewide basis effective immediately:

       1.     No person, other than a federal, state, or local law-enforcement
              official, shall provide ground transportation to a group of migrants
              who have been detained by CBP for crossing the border illegally or
              who would have been subject to expulsion under the Title 42 order.

       2.     The Texas Department of Public Safety (DPS) is directed to stop any
              vehicle upon reasonable suspicion of a violation of paragraph 1, and to
              reroute such a vehicle back to its point of origin or a port of entry if a
              violation is confirmed.

       3.     DPS is authorized to impound a vehicle that is being used to transport
              migrants in violation of paragraph I, or that refuses to be rerouted in
              violation of paragraph 2.

   This executive order shall remain in effect and in full force unless it is modified.
   amended, rescinded, or superseded by the governor.


                                                  Given under my hand this the 28th
                                                  day of July, 2021.




                                           /
                                                  GRE ABBOH
                                                  Governor

                                                                           FILED IN THE OPF!CE OF THE
                                                                              SECRETARY OF STATE
                                                                                 tI3oA’-” O’CLOCK
                                                                                JUL 282021
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Governor Greg Abbott                                         Executive Order GA-37
Ju1y28,2021                                                                  Page3




   AT ESTEDBY:




   Deputy Secretary of State




                                                         FILED N THE OFFICE OF THE
                                                            SECRETARYOF STATE
                                                             i: 1OA’ O’CLOCK
                                                              JUL 282021
